EXHIBIT A
                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


ERNIE HINES D/B/A COLORFUL MUSIC,       CASE NO. 1:20-CV-03535-JPO

          Plaintiff,
     v.

BMG RIGHTS MANAGEMENT (US) LLC,
W CHAPPELL MUSIC CORP., SHAWN
CARTER p/k/a JAY-Z, TIMOTHY MOSLEY
p/k/a TIMBALAND, and ELGIN BAYLOR
LUMPKIN p/k/a GINUWINE,

          Defendants.



     EXPERT MUSICOLOGY REPORT OF DR. LAWRENCE FERRARA; AND
            REBUTTAL TO THE REPORT OF DR. JOE BENNETT
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                            (BY) LAWRENCE FERRARA, Ph.D.
                            (FOR) LAWRENCE FERRARA, INC.

                                 REPORT REGARDING

                               HINES V. MOSLEY ET AL.

                       I.      INTRODUCTION AND SUMMARY

       1.     I am a musicologist on the full-time faculty at New York University where
my rank is Professor of Music, and my title is Director Emeritus of all studies (B.M.
through Ph.D.) in Music and the Performing Arts in NYU’s Steinhardt School. I have
written and co-written published books and articles (in peer reviewed journals) regarding
music analysis, methodologies in music research, and other scholarly areas related to
music. I currently sit on editorial boards of peer-reviewed scholarly journals in music
published by Indiana University Press and University of Illinois Press. I have been an
active music copyright consultant for record, music publishing, motion picture
companies, artists and other individuals in the United States and abroad for more than
25 years. I have given invited lectures on music copyright at Harvard University Law
School in each of the last twelve years, and presentations at Columbia University Law
School over the last fifteen years. I have also presented several peer-reviewed papers
regarding music copyright at meetings of the American Musicological Society GNY, and
panel presentations for numerous organizations such as The Copyright Society of the
United States. My curriculum vitae is attached as Appendix 1.

       2.     I have been asked to complete a comparative musicological analysis of
the compositions in Plaintiff’s “Help Me Put Out the Flame (In My Heart)” (hereafter
“FLAME”) as written and recorded by Ernie Hines, Defendants’ “Paper Chase” as
recorded by Jay-Z featuring Foxy Brown (hereafter “PAPER”), and Defendants’ “Toe 2
Toe”, as recorded by Ginuwine (hereafter “TOE”). It is my understanding that FLAME
was released in 1970, PAPER was released in 1998, and TOE was released in 1999.

       3.     My report provides a comparative musicological analysis of the
compositions in (1) FLAME and PAPER and (2) FLAME and TOE and assesses (a) the

                                                                                          1
significance or lack thereof of any shared similarities in such compositions and (b)
whether or not any shared similarities in such compositions exist in “prior art”, i.e.,
musical compositions that predate 1970, the year in which FLAME was released.1

       4.     I was also asked to review and respond to a report by Dr. Joe Bennett
dated September 8, 2019 (hereafter “the Bennett Report”).

I. A. SUMMARY OF FINDINGS

       5.     On the basis of my musicological analysis, which is described below, it is
my professional opinion that there are no significant structural, harmonic, rhythmic,
melodic, or lyrical similarities, individually or in the aggregate, between FLAME and
PAPER or between FLAME and TOE. Because it is consistent with my musicological
practice, that conclusion is based on my comparative analyses (discussed below) of the
entireties of the compositional works at issue, however in this instance the only material
from FLAME that is alleged to be copied is a short, introductory section that is a minimal
part of FLAME.

       6.     The only musical material at issue in FLAME is a melody that appears
only briefly and only once in the 5-second Intro (Introduction) of FLAME, which the
Bennett Report calls a three bar guitar riff. That melody does not repeat in any other
part of FLAME, and has no connection to any other melodies found elsewhere in
FLAME. The 5-second Intro is a minimal part of FLAME, 5 seconds in duration out of a
total of 3:12 (3 minutes and 12 seconds) or 192 seconds in duration. The melody in the
5-second Intro does not appear on the lead sheet deposit copy of FLAME submitted for



1
       I understand that Plaintiff asserts that PAPER and TOE sampled from a sound
recording of FLAME. I have been advised that Defendants do not concede same, and
have been further advised that Plaintiff does not own any copyright in the sound
recording of FLAME. I have been asked to assume sampling of the sound recording,
and assess the musicological significance, if any, of similarities between the musical
compositional elements between FLAME and PAPER and FLAME and TOE. A
musicological analysis assessing similarities between sound recordings is not the same
as a musicological analysis assessing similarities between musical compositions.

                                                                                           2
copyright registration and registered in 1969. In addition to being quantitatively
insignificant, the 5-second Intro is qualitatively insignificant to FLAME as a whole.

       7.     Most significantly, the 5-second Intro at issue in FLAME is based on the
exceedingly well-known “Mysterioso Pizzicato” melody which is in the public domain
and used in many musical compositions in multiple genres (including in film music and
popular songs) that predate 1970. As such, the use of this melody in FLAME is merely
an instance of the use of a stock device.

       8.     The similarities between FLAME and PAPER, and FLAME and TOE, all
based on the claimed copying of the 5-second Intro, are the same similarities that are
found in the public domain material discussed above, based on “Mysterioso Pizzicato”,
and predate FLAME. The thin and fragmentary similarities in PAPER and TOE as
compared with FLAME do not copy any significant expression from FLAME but rather
use the same public domain material that Plaintiff copied from “Mysterioso Pizzicato”.
The only additional material that Plaintiff has supplied in the 5-second Intro that is not
found in “Mysterioso Pizzicato” and other public domain sources based thereon is one
additional “C” note, which additional note does not even appear in either PAPER or
TOE.

       9.     The Bennett Report presents a flawed analysis of the musical
compositions’ similarities, while focusing on the sound recording analysis that is not
relevant to the musical compositions’ analysis here. While the Bennett Report finds
that the guitar melodies in PAPER and TOE are “compositionally copied” from FLAME,
the 5-second Intro in FLAME is, as the Bennett Report concedes, copied from the
“Mysterioso Pizzicato” public domain melody. The Bennett Report’s finding on this
issue contradicts and undermines his finding of “compositional copying” and also his
contention that the 5-second Intro is an “original composition”. First, it is my
understanding that expert musicologists are not permitted to opine on the ultimate
issues of whether a work or an element within a work qualifies as “an original element”
or “an original composition”. However, solely for purposes of responding to this
conclusion offered in the Bennett Report and from a musicological perspective, based


                                                                                             3
on my analyses set forth below, it is my opinion that there is no musicological support
for a claim that the 5-second Intro in FLAME embodies any “original element”. An
abundance of musicological evidence supports this conclusion as set forth below.

      10.     At bottom, the Bennett Report fails to show that the 5-second Intro
constitutes “original” expression in FLAME which was copied in PAPER and/or TOE –
instead, the Bennett Report’s acknowledgement of the source of the 5-second Intro in
Flame compels the opposite conclusion.

I. B. Materials Used

      11.    The following materials were used in my analyses of FLAME and PAPER
and of FLAME and Toe set forth below:

      (a)    an mp3 audio of FLAME titled “Help Me Put Out the Flame (In My Heart)”
             from the album The Complete Stax / Volt Soul Singles, Vol. 2: 1968-1971
             that I downloaded from iTunes and attached as Track 1 on Audio Exhibit
             1;

      (b)    an mp3 audio of PAPER titled “Paper Chase” from the album JAY Z – Vol.
             2… Hard Knock Life that I downloaded from iTunes and attached as Track
             2 on Audio Exhibit 1;

      (c)    an mp3 audio of TOE titled “Toe 2 Toe” from the album Ginuwine – 100%
             Ginuwine that I downloaded from iTunes and attached as Track 3 on
             Audio Exhibit 1;

      (d)    musical compositions that embody similarities at issue that are listed in
             Visual Exhibit A with YouTube links;

      (e)    the original 1969 2-page sheet music deposit copy of FLAME attached as
             Visual Exhibit B;

      (f)    plaintiff’s Third Amended Complaint filed 02/24/2022; and



                                                                                          4
       (g)    the report of Dr. Joe Bennett dated September 8, 2019.

I. C. OVERALL METHODOLOGY

       12.    I compared FLAME to PAPER and FLAME to TOE by using the following
overall methodology:

       (a) analyses of FLAME and PAPER and of FLAME and TOE in their entirety,
       (b) analyses of each of their component elements individually and in
       combination,
       (c) analyses of prior art, and
       (d) analyses of FLAME and PAPER and of FLAME and TOE in their entirety
       within the context of the analysis of their component parts and prior art.

I. D. MUSICAL COMPOSITIONS AND BASIC TERMINOLOGY

       13.    A musical composition is composed of certain distinct and identifiable
elements that can be analyzed separately, and in combination. When analyzing two
compositions in order to form an opinion in music copyright infringement claims, some
elements are more fundamental to determining similarities or differences than others,
namely: (1) structure; (2) harmony; (3) rhythm; and (4) melody; and, when present (5)
lyrics.2 On the other hand, similarities or differences in the key (e.g., if two compositions
are in the same key or in different keys), tempo (i.e., how fast or slow), meter (e.g., 4/4
time), instrumentation (e.g., the use of guitars, drums, synthesizers, etc.), and style or
genre (e.g., hip hop, country, etc.) are less significant insofar as they represent musical
building blocks and/or commonplace practices used in countless musical compositions.
Brief definitions of the five enumerated elements listed above follow.


2
        For example, Ronald S. Rosen writes: “Thus, from the copyright perspective (and
in the view of many musical professionals) …the basic elements of music are: melody,
harmony, rhythm, and form/structure.” (Ronald S. Rosen, Music and Copyright, Oxford
University Press, 2008, p. 156) In addition and as cited in Rosen (footnote 19 on page
156): “In Tisi v. Patrick, both experts were in agreement ‘that the elements to be
considered on the question of similarity between [the two songs] were structure,
melody, harmony and rhythm.’ 97 F.Supp.2d 539,543 (S.D.N.Y.2000).”


                                                                                              5
      (a) Structure is the organization of musical units or musical groups, often
      dictated by the development of the melody and/or lyrics. The larger sections of
      songs are generally referred to as “Verses” and “Choruses”. The material within
      Verses and Choruses consists of “phrases”.

      (b) Harmony refers to the tonal relationship of pitches that sound simultaneously,
      especially (but not exclusively) with respect to the use and organization of
      “chords.”3 A sequence of chords is referred to as a “harmonic progression”.
      “Harmonic rhythm” is the rate of change of chords.4

      (c) Rhythm refers to the pattern and organization of the time values of sounds
      and silences as well as the overall rhythmic flow and feel in musical time.5

      (d) Melody is a single line of music that consists primarily of a succession (i.e., a
      sequence or order) of pitches and the rhythmic durations of those pitches within
      a melodic phrase structure. “Pitch” is the specific high or low placement of a
      musical sound, often identified within a musical scale.6

      (e) Lyrics are the words (or text) that are sung or spoken in a song.

                     II.     ANALYSIS OF FLAME AND PAPER

      14.    As discussed above, pursuant to my musicological practice, in this section
I analyze FLAME and PAPER from the perspective of their entireties, along with my
comparative analysis of the only material at issue in FLAME (the 5-second Intro) and
PAPER.


3
      See “Harmony” in The Harvard Dictionary of Music (Fourth Edition, 2003,
Harvard University Press, p. 379) and The New Grove Dictionary of Music and
Musicians (Oxford University Press, Second Edition, 2001, Vol. 10, p. 858).
4
      See “Harmonic rhythm” in Harvard (p. 376) and Grove (Vol. 10, p. 854).
5
      See “Rhythm” in Harvard (p. 723) and Grove (Vol. 21, p. 277).
6
      See “Melody” in Harvard (p. 499) and Grove (Vol. 16, p. 363).

                                                                                          6
II. A. STRUCTURE/FORM

The Overall Structures in FLAME and PAPER Are Significantly Different

        15.        A structural chart provides a map of the structural sections in a musical
composition. The comparative chart of the respective structures in FLAME and PAPER
presented immediately below include the starting time of each section (within 1 second),
the name of each structural section, and the number of full bars7 in each structural
section.

                      FLAME                                                   PAPER
           STRUCTURAL CHART                                         STRUCTURAL CHART
00:00      Intro                     3 bars                00:00    Intro                8 bars
00:05      Verse 1                   8 bars                00:21    Verse 1              16 bars
00:24      Pre-chorus 1              4 bars                01:04    Chorus 1             8 bars
00:33      Chorus 1                  7 bars                01:25    Verse 2              16 bars
00:47      Verse 2                   8 bars                02:08    Chorus 2             8 bars
01:06      Pre-chorus 2              4 bars                02:29    Verse 3              16 bars
01:15      Chorus 2                  7 bars                03:12    Chorus 3             8 bars
01:30      Bridge                    13 bars               03:33    Outro                23 bars
01:58      Verse 3                   8 bars                         (ends at 4:35 including fade)
02:16      Pre-chorus 3              4 bars
02:25      Chorus 3                  8 bars
02:43      Outro                     13 bars
           (ends at 3:12 including fade)



        16.        As demonstrated in the comparative chart above, FLAME and PAPER
incorporate generic structural building blocks in music through the use of Intro, Verse,


7
      A “bar” (or “measure”) is a unit of musical time demarcated by vertical lines
termed “bar lines.” In 4/4 meter, a bar consists of four beats, each with the value of a
quarter note. See “Measure” in Harvard (p. 496) and “Bar” in Grove (Vol. 2, p. 681).

                                                                                               7
Chorus, and Outro sections. However, the length of these sections is different in each
song, with the exception of Chorus 3, which is 8 bars in both.

       17.      By way of additional difference, while FLAME has three Pre-chorus
sections respectively between each Verse and Chorus, PAPER does not include any
Pre-chorus sections. Moreover, while FLAME has a Bridge, PAPER does not.

       18.      As analyzed below, the only portion that is at issue in FLAME is the 5-
second Intro out of a total of 3:12 (3 minutes and 12 seconds) or 192 seconds in
duration. The expression at issue in FLAME never returns after this brief Intro section.

       19.      As respectively heard on Tracks 1 and 2 of Audio Exhibit 1, while the
guitar plays alone in the Intro (preceding any vocal part) in FLAME, in PAPER the
guitar, drums, and vocal rap are all present in the Intro.

       20.      In summary, I found that there are no significant structural similarities
between the two songs, but there are significant structural differences. Any structural
similarities are generic.

II. B. HARMONY

The Chord Progressions in FLAME and PAPER Are Significantly Different

       21.      Both FLAME and PAPER are in the key of G minor, a commonplace key
in popular music. The key of G minor is a fundamental musical building block.

       22.      Musicologists often use Roman numerals to identify chords in musical
compositions. A chord can be built on each scale degree, 1-7, and identified with
Roman numerals. By way of example, in a major key:

            A “I” chord is a major chord built on scale degree 1;

            A “IV” chord is a major chord built on scale degree 4; and

            A “V” chord is a major chord built on scale degree 5.


                                                                                            8
      23.    FLAME has several chord progressions. Musical Examples 1-4 below
chart the chord progressions in Verse 1, Pre-chorus 1, Chorus 1, and the Bridge of
FLAME.




                               MUSICAL EXAMPLE 1
                    The Chord Progression in Verse 1 of FLAME

At 0:07




                               MUSICAL EXAMPLE 2
                 The Chord Progression in Pre-chorus 1 of FLAME

At 0:25




                                                                                     9
                                MUSICAL EXAMPLE 3
                   The Chord Progression in Chorus 1 of FLAME

At 0:33




                                MUSICAL EXAMPLE 4
                   The Chord Progression in the Bridge of FLAME

At 1:31




      24.    Musical Example 5 below charts the 8-bar chord progression used
throughout PAPER.8



8
     The final vii chord in bar 8 of the PAPER chord progression (see Musical
Example 5) occurs simultaneously with an anticipated i chord in the guitar part, creating
                                                                                       10
                                 MUSICAL EXAMPLE 5
                           The Chord Progression in PAPER

At 0:00




       25.    As transcribed above, the basic chord progressions (without added tones
such as 6, 7, and 9) in FLAME are as follows:

              i–IV–V–i                    (in the Verse)

              V–IV–bIII–IV–V 9            (in the Pre-chorus)

              bIII–i–V–i–IV–i–bVII        (in the Chorus)

              i–IV–i–IV–i–IV–i–bIII–
              IV–V–bIII–i–bVII            (in the Bridge)



a harmonic dissonance. Since this chord is not directly relevant to the comparative
harmonic analysis with FLAME, I have opted to identify the basic “vii” chord symbol in
bar 8 instead of the dissonant chord created by the brief anticipated guitar chord, which
would be listed as “i(maj9#11)/7”. Related and by way of example, the notes in the
horns in the Chorus of PAPER also alter some chords albeit slightly, but the basic chord
progression remains the same.
9
        A lower case “b” placed in front of a Roman numeral denotes that the chord is
“flatted” or “lowered” by a half step from its “raised” note. Thus, a “bVII” chord is a major
chord built on a lowered (by a half step) seventh scale degree. In the key of G minor, F-
sharp (F#) is the raised seventh scale degree and F-natural is the lowered seventh
scale degree.


                                                                                          11
       26.    By way of significant difference, the basic harmony (without added 7s) in
PAPER consists of the following four-bar chord progression.

              i–iv7–i–vi–bvii–vii          (throughout)

       28.    The only remotely similar harmonic movement is from i to IV in the Verse,
Chorus, and Bridge of FLAME as compared to the i to iv7 movement in PAPER.
However, a major IV chord (in FLAME) is not the same as a minor iv7 chord (in
PAPER), and harmonic movement in both i–iv and i–IV pairs of chords has been
commonplace in Western music for centuries. Moreover, this generic 2-chord
movement is within a harmonic context of very different chord progressions in FLAME
and PAPER as shown above.

       29.    In addition, the harmonic rhythm (i.e., the rate of change of the chords) is
different in FLAME and PAPER. For example, the harmonic rhythm in PAPER includes
rapid changes from vi to bvii to vii, as shown in bar 8 of Musical Example 5 above,
which does not occur in FLAME.

       30.    In summary, I found that there are no significant harmonic similarities
between the two songs, but there are significant harmonic differences. Moreover, when
combined with my findings regarding structure (above), I found that there are no
significant structural and/or harmonic similarities, individually or in the aggregate,
between FLAME and PAPER and that any similarities are generic.

II. C. RHYTHM

The Overall Rhythmic Flow and Feel in FLAME and PAPER Are Significantly Different

       31.    FLAME and PAPER are in 4/4 meter, also known as “common time”. As
noted in footnote 7 above, in 4/4 meter, a bar consists of four beats, each with the value
of a “quarter note”. 4/4 meter has been a musical building block for centuries.




                                                                                          12
       32.    The tempo (i.e., the performance speed) in the first three seconds of
FLAME is about 171 BPM (i.e., beats per minute). Ending with a tremolo10 guitar chord
just after the three-second mark, in the entrance of the vocal melody (which occurs by
0:05), the tempo slows down drastically, staying at an average tempo of about 110
BPM, with slight variations, for the remainder of the song. Thus, the tempo of the Intro
of FLAME is very different from the tempo in the remainder of FLAME. The tempo in
PAPER is fixed throughout at a slower tempo of approximately 90 BPM.

       33.    The overall rhythmic flow and feel are significantly different in FLAME and
PAPER and specifically, the guitar rhythms, bass guitar rhythms, and drum rhythms are
mostly different in FLAME and PAPER. There are no significant rhythmic similarities in
the overall rhythmic flow and feel in FLAME and PAPER.

       34.    In summary, I found that there are no significant rhythmic similarities
between the two songs, but there are significant rhythmic differences. Moreover, when
combined with my findings regarding structure and harmony, I found that there are no
significant structural, harmonic, and/or rhythmic similarities, individually or in the
aggregate, between FLAME and PAPER, and that any similarities are generic and/or
thin and fragmentary.

II. D. MELODY

The Melodic Similarity Between the Intro of FLAME and PAPER Is Thin and
Fragmentary and the Melodies in the Remainder of FLAME Are Significantly Different
From Any Melodies in PAPER

       35.    The 5-second Intro in FLAME consists wholly of playing on a guitar. All of
the guitar music at issue in the 5-second Intro of FLAME is transcribed in Musical
Example 6 below. As discussed above in the section on Structure, the only portion at
issue in FLAME is in the 5-second Intro. Therein, the guitar melody is approximately 3
seconds in duration followed by the tremolo guitar chord which enters at approximately


10
       A “tremolo” is a “rapid reiteration of a single note or chord….” (Grove, Volume 25,
p. 716.)
                                                                                         13
3 seconds and lasts for approximately 2 seconds. As noted above, the expression in
the 5-second Intro never returns in FLAME, has no meaningful similarity to the rest of
FLAME, and represents a minimal part of FLAME.




                                 MUSICAL EXAMPLE 6
                             The 5-Second Intro in FLAME

At 0:00




       36.    As transcribed in Musical Example 6 above, the 5-second Intro consists of
a brief solo guitar melody followed by a sustained tremolo guitar chord. The vocal
melody enters by 0:05 in FLAME, is not similar to PAPER, and is not at issue. Looking
at Musical Example 6 above, the first five notes of the guitar part are a “pickup”11 to the
first full bar in Musical Example 6. The “G” at the end of the descending scale is clearly
on the downbeat (beat 1) in bar 2. The strength of the “G” as a downbeat in bar 2
reinforces the pickup status and metric placements of the first five notes in the guitar
part at issue in FLAME.

       37.    The expression at issue in PAPER is a fragmentary part of an eight-bar
guitar figure shown below in Musical Example 7.




11
       A “pickup” consists of “One or more notes preceding the first metrically strong
beat (usually the first beat of the first complete measure)….” (Harvard, p. 660.)
                                                                                           14
                                 MUSICAL EXAMPLE 7
                              The Guitar Parts in PAPER

       At 0:00




       38.    The guitar parts in PAPER transcribed immediately above are “looped”
(repeated). The main or “Guitar 1” part is panned to the center of the stereo mix and
contains the melody. The “Guitar 2” part is panned to the left and “accompanies” the
Guitar 1 melody. The Guitar 1 part, which contains the melodic elements at issue,
consists of four 2-bar melodic phrases: bars 1-2, bars 3-4, bars 5-6, and bars 7-8. Each
2-bar phrase starts with iterations of the note “G” (scale degree 1 in the key of G minor).
There are no pickup notes in any of these 2-bar melodic phrases. The first chord
occurs on beat 3& of bar 5 in the middle of the phrase embodied in bars 5-6. The
second chord occurs on beat 4& of bar 8.

       39.    Musical Example 8 below is a comparative transcription of the entire 5-
second Intro in FLAME (on the top staff) and bars 1-4 of the 8-bar Guitar 1 melody in
PAPER (on the bottom staff). Scale degree numbers have been added above the notes
on the top staff and below the notes on the bottom staff in Arabic numerals. The
Roman numeral “i” indicates a minor i chord (a G minor chord in the key of G minor). A
minor i chord in a minor key is a fundamental musical building. Musical Example 9,

                                                                                         15
directly following Musical Example 8, is a similar comparative transcription of the entire
5-second Intro in FLAME (on the top staff) and bars 4-8 of the 8-bar Guitar 1 loop in
PAPER (on the bottom staff).

                                 MUSICAL EXAMPLE 8
                 5-Second Intro in FLAME (pickup and bars 1-3) and
                              Guitar 1 in PAPER (bars 1-4)




                                 MUSICAL EXAMPLE 9
                 5-Second Intro in FLAME (pickup and bars 1-3) and
                              Guitar 1 in PAPER (bars 5-8)




       40.    As shown in Musical Examples 8 and 9 above, the guitar melody and
chord in each song are charted as scale degrees as follows.

                                                                                         16
FLAME Intro          13451        65432           1   i

PAPER bars 1-4              111          5151654          111       516 54

PAPER bars 5-8              1111 i       51654            111       51516       i

      41.     As charted and transcribed above, the similarities between the entire 5-
second Intro in FLAME and the 8-bar Guitar 1 melody in PAPER are as follows.

                 Both start on scale degree 1.

                 Both contain the melodic sequence 5-1-6-5-4.

                 Both play scale degree 6 off the beat.

                 Both end with a strummed i chord.

      42.     The differences between the entire 5-second Intro in FLAME and the 8-bar
Guitar 1 melody in PAPER are as follows.

                 FLAME contains scale degrees 2 and 3 while PAPER does not.

                 PAPER contains consecutive iterations of scale degree 1, while
                  FLAME contains no consecutive iterations of scale degree 1 or any
                  other note.

                 The melodic phrase structure in FLAME is a pickup (of 5 notes)
                  followed by 2 bars of melody and a sustained chord, while in PAPER
                  the melodic phrase structure is four 2-bar phrases without any pickup
                  notes.

                 The chord in FLAME occurs after the guitar melody, while there is a
                  chord in PAPER that occurs on beat 3& of bar 5, which is in the middle
                  (not at the end) of the 2-bar melodic phrase in bars 5-6 and in the
                  middle of the 8-bar guitar loop.



                                                                                          17
                 The eight-bar melody in PAPER contains 35 notes and 2 strummed
                  chords, while the FLAME melody contains 11 notes and 1 strummed
                  chord.

                 Other than the generic building block of some consecutive eighth notes
                  (set to different corresponding pitches in FLAME and PAPER), there
                  are no notable similarities between the melodic rhythms in FLAME and
                  PAPER.

       43.    Thus, while the melodic similarity includes a sequence of five pitches on
scale degrees 5-1-6-5-4, those five pitches are set to (a) different rhythmic durations
and (b) different metric placements (within beats). As my analysis below of prior art
shows, this 5-pitch fragment was commonplace before 1970 and is derived in
FLAME from the “Mysterioso Pizzicato” cliché melody first published in 1914 and
commonly used as a stock device throughout the twentieth century in songs and
film music.

       44.    In summary, I found that there are no significant melodic similarities
between PAPER and FLAME, but there are significant melodic differences. The only
relevant melodic similarity is a five-pitch fragment (set to different rhythmic durations
and metric placements) and playing scale degree 6 off the beat. The five-pitch fragment
is derived from a stock melody that is in the public domain. Playing scale degree 6 off
the beat is not remotely significant. Moreover, again, the 5-second Intro is the only
portion of FLAME at issue and is a minimal part of FLAME.

       45.    When combined with my findings regarding structure, harmony, and
rhythm, I found that there are no significant structural, harmonic, rhythmic, or melodic
similarities, individually or in the aggregate, between FLAME and PAPER and that any
similarities are generic and/or thin and fragmentary.




                                                                                            18
II. E. LYRICS

The Lyrics in FLAME and PAPER Are Significantly Different

       46.    The lyrics of FLAME are from the perspective of a narrator who is in love
to the point of torment. The lyrics describe feelings of helplessness and confusion,
using the metaphor of “the flames in [their] heart”. In sharp contrast, the lyrics of
PAPER are about the pursuit of money and the besting of competitors. Jay-Z and Foxy
Brown’s lyrics boast of their business acumen, status, and drive to “get that paper”.
There are no similar lyrical phrases in FLAME and PAPER.

       47.    In summary, I found that there are no significant lyrical similarities
between PAPER and FLAME, but there are significant lyrical differences. Moreover,
when combined with my findings regarding structure, harmony, rhythm, and melody, I
found that there are no significant structural, harmonic, rhythmic, melodic, or lyrical
similarities, individually or in the aggregate, between FLAME and PAPER any
similarities are generic and/or thin and fragmentary.

II. F. PRIOR ART

The Melody in the 5-second Intro in FLAME Is a Stock Device Interpolation of a Famous
Melody Titled “Mysterioso Pizzicato”

       48.    As analyzed above in the section on Structure, the only portion at issue in
FLAME is the 5-second Intro. (The guitar melody is approximately 3 seconds and the
remaining 2 seconds of the Intro in FLAME is a guitar chord.) Again, the expression in
the 5-second Intro in FLAME never returns and has no meaningful similarity to the rest
of FLAME.

       49.    The 5-second Intro consists wholly of a brief melody played on a guitar
followed by a sustained tremolo guitar chord. The 5-second Intro is an interpolation of a
famous cliché melody known as “Mysterioso Pizzicato” (hereafter “MP”). MP is also
known as “The Villain” or “The Villain’s Theme”. MP was published in 1914 in The
Remick Folio of Moving Picture Music, vol. I by Jerome H. Remick & Company. The

                                                                                          19
interpolation in FLAME of the famous MP melody is merely one of dozens of examples
of musical compositions throughout the twentieth century in multiple genres of music
and film that use this stock melodic device.

       50.    Visual Exhibit A attached to this report consists of transcriptions of the
MP stock device melodic interpolations in 42 musical compositions including brief
narratives regarding each work. Presented in chronological order, the first 28 prior art
works in Visual Exhibit A were released between 1923 and 1970, 1970 being the year
in which FLAME was released. The remaining 14 transcriptions are from musical
compositions that were released between 1971 and 1994, prior to the 1998 release of
PAPER.

       51.    Drawing from the prior art works in Visual Exhibit A, in Musical Examples
10-17 below, transcriptions of eight representative prior art works released between
1926 and 1965, i.e., before the 1970 release of FLAME, are placed in comparative
transcriptions with the 5-second Intro at issue in FLAME. In each pair of comparative
transcriptions, the prior art work is on the top staff and the guitar part in FLAME is on
the bottom staff.

       52.    In each of the comparative transcriptions in Musical Examples 10-17
below, scale degree numbers have been added above the notes on the top staff and
below the notes on the bottom staff in Arabic numerals. The Roman numeral “i”
indicates a minor i chord (a G minor chord in the key of G minor). Arrows connect
identical corresponding pitches in the prior art work and in FLAME in the first
comparative transcription in each Musical Example. (As shown in Musical Examples 8
and 9 and analyzed above, the similar pitches between FLAME and PAPER are set to
different rhythmic durations and on different metric placements.) In the second
comparative transcription in each Musical Example, pitches in FLAME that have a
corresponding pitch in the prior art work are X’ed out. As shown in five of the eight
Musical Examples 10-17 below, after omitting the pitches that are shared between each
prior art work and FLAME, only a single pitch (a “C” on scale degree 4) and a musical
building block i chord (or part of that chord) remain. In the other three prior art works


                                                                                            20
comparative transcriptions immediately below, only two non-consecutive pitches (on
scale degrees 4 and 1 – a “C” and a “G”) and the musical building block i chord (or part
of that chord) remain.



                               MUSICAL EXAMPLE 10

             “Mysterious Mose” #2 in Visual Exhibit A (1926) / FLAME




      53.    As shown in Musical Example 10 above, after omitting the pitches that are
shared between the prior art work and FLAME, only a single pitch (on scale degree 4)
and a musical building block G minor (i) chord in the key of G minor remain. In addition
to the iteration at 0:10, the MP melody occurs again at 1:54 and 2:52 in the 1926
“Mysterious Mose”.


                                                                                       21
                                 MUSICAL EXAMPLE 11

         “The Skeleton In the Closet” #5 in Visual Exhibit A (1936) / FLAME




       54.    As shown in Musical Example 11 above, after omitting the pitches that are
shared between the prior art work and FLAME, only a single pitch (on scale degree 4)
and a musical building block i chord remain. There is a “trill”12 on scale degree 6.
Moreover, the MP stock device in “The Skeleton in the Closet” is part of an instrumental
Intro that precedes the entrance of the vocal melody as in FLAME.




12
       A “trill” is “An ornament consisting of the more or less rapid alternation of a note
with the one above….” (Harvard, p. 906.)
                                                                                          22
                               MUSICAL EXAMPLE 12

               “Old Man Mose” #6 in Visual Exhibit A (1939) / FLAME




      55.    As shown in Musical Example 12 above, after omitting the pitches that are
shared between the prior art work and FLAME, only a single pitch (on scale degree 4)
and a musical building block i chord remain. The bass part, transcribed in Musical
Example 12, plays the melody without a trill on scale degree 6 in “Old Man Mose” at
both 0:02 and 0:07.




                                                                                       23
                                 MUSICAL EXAMPLE 13

                “Peek-A-Boo” #13 in Visual Exhibit A (1958) / FLAME




       56.    As shown in Musical Example 13 above, after omitting the pitches that are
shared between the prior art work and FLAME, only two non-consecutive pitches (on
scale degrees 4 and 1) and part of a musical building block i chord remain. With the “G”
in the bass of bar 3 in “Peek-A-Boo”, the guitar tremolo-like iteration of interchanging i
and I chords is similar to the more fully realized G minor chord in FLAME. In both the
prior art work and FLAME, the chord(s) follow the MP melody. Moreover, another
iteration of the MP stock device in “Peek-A-Boo” at 0:00 (which is not transcribed
above) is part of an instrumental Intro that precedes the entrance of the vocal melody as
in FLAME.




                                                                                             24
                                MUSICAL EXAMPLE 14

             “Not of This Earth” #18 in Visual Exhibit A (1959) / FLAME




      57.    As shown in Musical Example 14 above, after omitting the pitches that are
shared between the prior art work and FLAME, only two non-consecutive pitches (on
scale degrees 4 and 1) and a musical building block i chord remain. “Not of This Earth”
also includes a tremolo chord played on the piano under scale degree 6. Moreover, this
MP stock device in “Not of This Earth” is part of an instrumental Intro that precedes the
entrance of the vocal melody as in FLAME.




                                                                                        25
                               MUSICAL EXAMPLE 15

         “The Headless Horseman” #21 in Visual Exhibit A (1963) / FLAME




      58.    As shown in Musical Example 15 above, after omitting the pitches that are
shared between the prior art work and FLAME, only two non-consecutive pitches (on
scale degrees 4 and 1) and part of a musical building block i chord remain.




                                                                                    26
                                MUSICAL EXAMPLE 16

                “Strychnine” #24 in Visual Exhibit A (1965) / FLAME




      59.    As shown in Musical Example 16 above, after omitting the pitches that are
shared between the prior art work and FLAME, only one pitch (on scale degree 4) and
part of a musical building block i chord remain. “Strychnine” also includes repeated i5
(“power”) chords played on the guitar which is similar to the more fully realized G minor
(i) chord in FLAME. In both songs, the i5 and i chord(s) follow the MP melody.




                                                                                          27
                                 MUSICAL EXAMPLE 17

                “Spider Walk” #26 in Visual Exhibit A (1965) / FLAME




       60.    As shown in Musical Example 17 above, after omitting the pitches that are
shared between the prior art work and FLAME, only one pitch (on scale degree 4) and
part of a musical building block i chord remain. Moreover, like FLAME, “Spider Walk”
includes (a) a fully realized G minor (i) chord, (b) played on the guitar, and (c) iterated
immediately after the MP melody. In addition, the MP phrase in “Spider Walk” is part of
an instrumental Intro that precedes the entrance of the vocal melody. On the other
hand, by way of difference, the G minor chord in “Spider Walk” is not sustained and is
not performed with a tremolo effect.


                                                                                              28
FLAME Added No New Pitches to the MP Stock Device Other Than a Single Pitch That
Is Not Even in PAPER

       61.    In Musical Examples 18-25 below, each of the eight two-part comparative
transcriptions in Musical Examples 10-17 is expanded in eight corresponding Musical
Examples 18-25 by placing the guitar melody at issue in PAPER on the bottom staff.
Since the prior art examples are each three bars long, I have excerpted the three bars
of PAPER that share the most similarities with the FLAME guitar melody, i.e., bars 3-5
of the PAPER guitar loop. Scale degree numbers have been added above the notes in
Arabic numerals, and the Roman numeral “i” indicates a minor i chord. In the second of
the paired tripartite transcriptions in each of the following eight Musical Examples,
corresponding pitches (1) that are in the prior art work and/or (2) that are not shared by
FLAME and PAPER are X’ed out. (As noted above, the metric placements and
rhythmic durations of the similar pitches in FLAME and PAPER are different.
Accordingly, the criterion for melodic similarity in the placement of the red X’s is that the
similar pitches occur in the same chronological sequence in all three songs.) As shown
in the eight Musical Examples 18-25 below, after omitting from PAPER the pitches (1)
that are shared between each prior art work and FLAME and/or (2) that are not shared
by FLAME and PAPER, at most, only a single tonic pitch and a i chord or a portion of a i
chord – both common musical building blocks – remain. However, because some of the
works that interpolate the MP stock device also include both of those, i.e., portions of
the building block i chord and the additional tonic scale degree 1, in my opinion FLAME
did not contribute those to the MP stock device. In fact, FLAME added no new pitches
that are not already in prior examples of the use of MP stock device other than an
additional “C” pitch (scale degree 4) which is wholly insignificant and which is not in
PAPER in any event.




                                                                                           29
         MUSICAL EXAMPLE 18

“Mysterious Mose” (1926) / FLAME / PAPER




                                           30
              MUSICAL EXAMPLE 19

“The Skeleton In the Closet” (1936) / FLAME / PAPER




                                                      31
        MUSICAL EXAMPLE 20

“Old Man Mose” (1939) / FLAME / PAPER




                                        32
      MUSICAL EXAMPLE 21

“Peek-A-Boo” (1958) / FLAME / PAPER




                                      33
         MUSICAL EXAMPLE 22

“Not of This Earth” (1959) / FLAME / PAPER




                                             34
            MUSICAL EXAMPLE 23

“The Headless Horseman” (1963) / FLAME / PAPER




                                                 35
      MUSICAL EXAMPLE 24

“Strychnine” (1965) / FLAME / PAPER




                                      36
       MUSICAL EXAMPLE 25

“Spider Walk” (1965) / FLAME / PAPER




                                       37
       62.    In summary, when combined with my findings regarding structure,
harmony, rhythm, melody, and lyrics, I found that there are no significant structural,
harmonic, rhythmic, melodic, or lyrical similarities, individually or in the aggregate,
between FLAME and PAPER. Furthermore, outside of playing a single note (scale
degree 6) off the beat, which is an insignificant similarity, the thin and fragmentary
similarities between FLAME and PAPER are found in prior art and are a function of the
stock device use of the famous MP melody in FLAME.

II. G. FLAME and PAPER in Their Entirety

FLAME and PAPER Are Significantly Different Musical Compositions in Their Entireties

       63.    Overall, the similarities between FLAME and PAPER are minimal and
substantially comprised of public domain materials. FLAME is a blues-based soul song
with sung vocals. PAPER is a hip-hop song with rapped vocals. As discussed above,
FLAME has several different harmonic progressions occurring in different sections of
the song, while PAPER has the same harmony throughout. The drum beat in FLAME is
relatively consistent, while the drum beat in PAPER is highly dynamic with much
rhythmic variety and sudden drop-outs.

       64.    The 5-second Intro at issue in FLAME consists of the guitar alone which
precedes the entrance of the vocal part in Verse 1. By way of difference, the Intro of
PAPER includes guitar, drums, and a vocal rap. Moreover, as shown in Visual Exhibit
A, 11 prior art works13 (released before 1970) include the use of the MP melody as part
of an instrumental Intro that precedes the entrance of the vocal melody. Thus, the idea
in FLAME of using the stock device MP melody in an instrumental Intro preceding the
vocal melody was already common before 1970.

       65.    The 5-second Intro is a minimal part of FLAME and a stock device
interpolation of “Mysterioso Pizzicato”. It is not part of the body of the FLAME song.
The body of FLAME starts with the vocal pickup at 0:05 after the Intro. A “cover”


13
      See the transcriptions and narratives in #1, #2, #9, #11, #13, #14, #18, #19, #22,
#26, and #28.
                                                                                          38
version of FLAME that omits this brief Intro would still be a “cover” of the “whole song”.
The fact that the 5-second Intro is omitted from the FLAME 1979 sheet music deposit
copy supports this finding. Again, in addition to being quantitatively insignificant, the 5-
second Intro is qualitatively insignificant to FLAME as a whole.

                           III.   ANALYSIS of FLAME AND TOE

        66.      As discussed above, pursuant to my musicological practice, in this section
I analyze FLAME and TOE from the perspective of their entireties, along with my
comparative analysis of the only material at issue in FLAME ( the 5-second Intro) and
TOE.

III. A. STRUCTURE/FORM

The Overall Structures in FLAME and TOE Are Significantly Different

        67.      As noted above, a structural chart provides a map of the structural
sections in a musical composition. The comparative chart of the respective structures in
FLAME and TOE presented immediately below include the starting time of each section
(within 1 second), the name of each structural section, and the number of full bars in
each structural section.

                    FLAME                                                   TOE
         STRUCTURAL CHART                                        STRUCTURAL CHART
00:00    Intro                     3 bars               00:00    Intro                 4 bars
00:05    Verse 1                   8 bars               00:11    Chorus 1              8 bars
00:24    Pre-chorus 1              4 bars               00:33    Verse 1               8 bars
00:33    Chorus 1                  7 bars               00:55    Pre-chorus 1          4 bars
00:47    Verse 2                   8 bars               01:06    Chorus 2              8 bars
01:06    Pre-chorus 2              4 bars               01:28    Verse 2               4 bars
01:15    Chorus 2                  7 bars               01:39    Pre-chorus 2          4 bars
01:30    Bridge                    13 bars              01:50    Chorus 3              8 bars
01:58    Verse 3                   8 bars                        (ends at 2:15)


                                                                                           39
02:16    Pre-chorus 3           4 bars
02:25    Chorus 3               8 bars
02:43    Outro                  13 bars
         (ends at 3:12 including fade)



        68.   As demonstrated in the comparative chart above, FLAME and TOE
incorporate generic structural building blocks in music through the use of Intro, Verse,
Pre-chorus, Chorus, and Outro sections. By way of difference, the Intro is followed by a
Verse in FLAME but by a Chorus in TOE. In TOE, all of the Chorus sections are 8 bars
long, but in FLAME, the first two Chorus sections are 7 bars long. In FLAME, all of the
Verse sections are 8 bars long, but in TOE, Verse 2 is 4 bars long. By way of further
difference, FLAME has Bridge and Outro sections, which TOE does not.

        69.   As respectively heard on Tracks 1 and 3 of Audio Exhibit 1, while the
guitar plays alone in the Intro (preceding any vocal part) in FLAME, in TOE the guitar,
sub-bass, and spoken vocals are all present in the Intro.

        70.   As noted above, the only portion that is at issue in FLAME is the brief 5-
second Intro. The expression at issue in the 5-second Intro in FLAME never returns
and has no meaningful similarity with the rest of FLAME.

        71.   In summary, I found that there are no significant structural similarities
between the two songs, but there are significant structural differences. Any structural
similarities are generic and commonly found in songs that predate 1970.

III. B. HARMONY

The Chord Progressions in FLAME and TOE Are Significantly Different

        72.   Both FLAME and TOE are in the key of G minor, a commonplace key in
popular music. The key of G minor is a fundamental musical building block.




                                                                                           40
       73.    The various chord progressions in FLAME were shown in Musical
Examples 1-4 earlier in this report. Musical Example 26 below shows the 8-bar chord
progression used throughout TOE.14



                                 MUSICAL EXAMPLE 26
                            The Chord Progression in TOE




       74.    As shown in Musical Examples 1-4 earlier in this report, the basic chord
progressions (harmony) in FLAME are as follows.

              i–IV–V–i                                         (in the Verse)

              V–IV–bIII–IV–V                                   (in the Pre-chorus)

              bIII–i–V–i–IV–i–bVII                             (in the Chorus)

              i–IV–i–IV–i–IV–i–bIII–
              IV–V–bIII–i–bVII                                 (in the Bridge)

       75.    By way of significant difference, the basic harmony in TOE consists of the
following eight-bar chord progression.


14
      The “N.C.” symbol stands for “no chord”, indicating that there is no harmonic
(chordal) content. In lieu of a chord symbol, notes in the guitar part that occur during
those beats are included.
                                                                                           41
              i–N.C.–v7–i–N.C.–v7–i–N.C.– i–N.C.–v7              (throughout)

       76.    The only remotely similar harmonic movement is from V to i in the Verse
and Chorus of FLAME as compared to the v7 to i movement in TOE. However, a minor
v7 chord is not the same as a major V chord, and V-i and v-i paired chord movements
have been fundamental building blocks in Western music for centuries.

       77.    By way of difference, the harmony in TOE is minimal, consisting of only
two chords (i and v7), while FLAME contains a variety of chords and chord
progressions.

       78.    In addition, the harmonic rhythm (i.e., the rate of change of the chords) is
different in FLAME and TOE. For example, while the harmonic rhythm in TOE includes
rapid changes from the v7 to i chords (see bars 2-3 and 4-5 of Musical Example 26
above), there is no similar harmonic rhythm in FLAME. Thus, the overall harmonic
contexts in FLAME and TOE are very different.

       79.    In summary, I found that there are no significant harmonic similarities
between the two songs, but there are significant harmonic differences. Moreover, when
combined with my findings regarding structure (above), I found that there are no
significant structural and/or harmonic similarities, individually or in the aggregate,
between FLAME and TOE and that any similarities are generic.

III. C. RHYTHM

The Overall Rhythmic Flow and Feel in FLAME and TOE Are Significantly Different

       80.    FLAME and TOE are in 4/4 meter, also known as “common time”. As
explained in footnote 7 above, in 4/4 meter, a bar consists of four beats, each with the
value of a “quarter note”. Also as noted above, 4/4 meter has been a musical building
block for centuries.

       81.    The tempo in the first three seconds of the 5-second Intro in FLAME is
about 171 BPM. Starting from the tremolo guitar just after the three-second mark, the
tempo slows down drastically, staying at an average tempo of about 110 BPM, with
                                                                                           42
slight variations, for the remainder of the song. Thus, the tempo of the 5-second Intro of
FLAME is very different from the tempo in the remainder of FLAME. The tempo
throughout TOE is slower than the tempos in FLAME and fixed at approximately 87
BPM.

       82.    The overall rhythmic flow and feel are different in FLAME and TOE and,
specifically, the guitar rhythms, bass guitar rhythms, and drum rhythms are mostly
different in FLAME and TOE. There are no significant rhythmic similarities in the overall
rhythmic flow and feel in FLAME and TOE.

       83.    In summary, I found that there are no significant rhythmic similarities
between the two songs, but there are significant rhythmic differences. Moreover, when
combined with my findings regarding structure and harmony, I found that there are no
significant structural, harmonic, and/or rhythmic similarities, individually or in the
aggregate, between FLAME and TOE, and that any similarities are generic and/or thin
and fragmentary.

III. D. MELODY

There Is No Significant Melodic Similarity Between FLAME and TOE

       84.    Again, the 5-second Intro in FLAME consists wholly of playing on a guitar.
All of the guitar music at issue in the Intro of FLAME is transcribed in Musical Example
27 below. As noted above, the only portion at issue in FLAME is the 5-second Intro, the
expression in which never repeats in Flame and has no meaningful similarity to the rest
of FLAME. This 5-second Intro represents a minimal part of FLAME.




                                                                                         43
                                MUSICAL EXAMPLE 27
                             The 5-second Intro in FLAME

At 0:00




      85.    As shown in Musical Example 27 immediately above, the 5-second Intro of
FLAME consists of a brief (approximately 3-seconds) solo guitar melody followed by a
sustained tremolo guitar chord from approximately 0:03 to 0:05. The Verse 1 vocal
melody in FLAME enters by 0:05, is not similar to TOE, and is not at issue.

      86.    In Musical Example 27 above, the first five notes of the guitar part are a
pickup (see footnote 11 above) to the first full bar marked bar “1”. The “G” at the end of
the descending scale is clearly on the downbeat (beat 1) in bar 2. The strength of the
“G” as a downbeat reinforces the pickup status and metric placements of the first five
notes in the guitar part at issue in FLAME.

      87.    The expression at issue in TOE is a fragmentary part of an eight-bar
melody shown below in Musical Example 28 immediately below.

                                MUSICAL EXAMPLE 28
                               The Guitar Melody in TOE

At 0:00




                                                                                          44
       88.    The guitar melody in TOE transcribed in Musical Example 28 immediately
above is “looped” (repeated) and consists of four 2-bar melodic phrases: bars 1-2, bars
3-4, bars 5-6, and bars 7-8. There are no pickup notes in any of these 2-bar melodic
phrases. Each 2-bar phrase starts with a single “G” (scale degree 1). The chords occur
near the beginning (on beat 1&) of 2-bar phrases in bars 1 and 5.

       89.    Musical Example 29 below is a comparative transcription of the 5-second
Intro at issue in FLAME (on the top staff) and bars 1-4 of the guitar melody in TOE (on
the bottom staff). Scale degree numbers have been added above the notes on the top
staff and below the notes on the bottom staff in Arabic numerals. The Roman numeral
“i” indicates a minor i chord, that is, a G minor chord in the key of G minor. A minor i
chord in a minor key is a fundamental musical building block.




                                MUSICAL EXAMPLE 29
                 5-Second Intro in FLAME (pickup and bars 1-3) and
                            Guitar Melody in TOE (bars 1-4)




       90.    Insofar as bars 1-4 in TOE consist of two, 2-bar melodic phrases as
shown in Musical Examples 28 and 29 above, in the chart immediately below, scale
degree numbers and corresponding bars in bars 1-2 and bars 3-4 of TOE are presented
under the corresponding bars of the 5-second Intro in FLAME. As shown in Musical
Example 29 above, the guitar notes and chords in each song are as follows.

                                                                                           45
FLAME Intro           13451           65432             1   i

TOE (bars 1-2)                 1i 51654     7 7 7 4 b7 #4

TOE (bars 3-4)                 1   51654    7 7 7 4 b7 #4       (1 in bar 8, see footnote 14)

       91.    As transcribed in Musical Example 29 and charted above, the melodic
similarities are as follows.

                 Both start on scale degree 1.

                 Both play scale degree 6 off the beat.

                 Both contain a five-pitch sequence on scale degrees 5-1-6-5-4.

       92.    The melodic differences are as follows:

                 The 5-1-6-5-4 pitch sequence is set to different rhythmic durations and
                  metric positions in FLAME and TOE.

                 TOE contains scale degrees #4, b7, and 7, while FLAME does not; and
                  FLAME contains scale degree 3, while TOE does not.

                 TOE contains consecutive iterations of scale degree 7 (F#), while
                  FLAME contains no consecutive iterations of any note and does not
                  contain any F#’s.

                 The melodic phrase structure in FLAME is a pickup (of 5 notes)
                  followed by 2 bars of melody and a chord, while in TOE the melodic
                  phrase structure is four 2-bar phrases without any pickup notes.

                 The chord in FLAME occurs after the guitar melody on beat 3 of bar 2,
                  while the chord in TOE occurs on beat 1& of bar 1, which is almost at
                  the beginning (not at the end) of the 2-bar melodic phrase in bars 1-2.




                                                                                           46
                 While the overall eight-bar melody in TOE (see Musical Example 28
                  above) contains 50 notes and 2 strummed chords, the FLAME melody
                  contains 11 notes and 1 strummed chord.

                 Other than the generic building block of consecutive eighth notes (but
                  set to different corresponding pitches in FLAME and TOE), there are
                  no significant similarities between the melodic rhythms in FLAME and
                  TOE15.

       93.    As with PAPER and FLAME, the only relevant melodic similarity
between TOE and FLAME is a five-pitch fragment on scale degrees 5-1-6-5-4,
which five pitches are set to (a) different rhythmic durations and (b) different
metric placements (within beats), and playing scale degree 6 off the beat (which
is an insignificant similarity). As my analysis of prior art shows below, this five-
pitch fragment is commonplace and derived from the “Mysterioso Pizzicato”
cliché melody that is in the public domain.

       94.    In summary, I found that there are no significant melodic similarities
between TOE and FLAME, but there are significant melodic differences. The only
relevant melodic similarity between the 5-second Intro in Flame and Toe is a five-pitch
fragment (set to very different rhythmic durations and metric placements) in the guitar
parts, which is entirely found in and derived from a melody in the public domain, and a
single pitch on scale degree 6 that is played off the beat (which is an insignificant
similarity). Again, the 5-second Intro is the only portion of FLAME that is at issue, is
heard only once in FLAME, and is a minimal part of FLAME.

       95.    When combined with my findings regarding structure, harmony, and
rhythm, I found that there are no significant structural, harmonic, rhythmic, or melodic


15
       As shown in Musical Example 28 above, bars 5-8 in TOE repeat bars 1-4 with
the exception of the additional note “G” at the end of bar 8. On that basis, a second set
of transcriptions, charted scale degrees, and narrative analyses is not necessary. The
additional scale degree 1 at the end of bar 8 has been parenthetically added to the chart
above which references this footnote.
                                                                                           47
similarities, individually or in the aggregate, between FLAME and TOE and that any
similarities are generic and/or thin and fragmentary.

III. E. LYRICS

The Lyrics in FLAME and TOE Are Significantly Different

       96.    As analyzed earlier in this report, the lyrics of FLAME are from the
perspective of a narrator who is in love to the point of torment. In sharp contrast, the
lyrics of TOE are a rap-style “braggadocio” in which Ginuwine boasts of their (his and
producer Timbaland’s) superiority over weaker competitors in the business.

       97.    In summary, I found that there are no significant lyrical similarities
between TOE and FLAME, but there are significant lyrical differences. Moreover, when
combined with my findings regarding structure, harmony, rhythm, and melody, I found
that there are no significant structural, harmonic, rhythmic, melodic, or lyrical similarities,
individually or in the aggregate, between FLAME and TOE and that any similarities are
generic and/or thin and fragmentary.

III. F. PRIOR ART

The 5-second Intro in FLAME Is a Stock Device Interpolation of a Famous Melody Titled
“Mysterioso Pizzicato” First Published in 1914

       98.    As analyzed above, the only portion at issue in FLAME is the 5-second
Intro, i.e., 5 seconds out of a total of 192 seconds in FLAME. (The guitar melody is
approximately 3 seconds and the remaining 2 seconds is a guitar chord.) Again, the
brief expression in the 5-second Intro never repeats in FLAME, has no meaningful
similarity to the remainder of FLAME, and represents a minimal part of FLAME.

       99.    As shown earlier in this report, the 5-second Intro of FLAME wholly
consists of a brief melody played on a guitar followed by a sustained guitar chord. The
guitar melody is an interpolation of a famous cliché melody known as “Mysterioso
Pizzicato” (MP), first published in 1914. The interpolation in FLAME of the MP melody


                                                                                            48
is merely one of dozens of examples of musical compositions throughout the twentieth
century in multiple genres of music and film that use this stock device.

       100.   As noted earlier in this report, Visual Exhibit A consists of transcriptions
of the MP stock device melodic interpolations in 42 musical compositions including brief
narratives regarding each prior art work. Presented in chronological order, the first 28
prior art works were released between 1923 and 1970. The remaining 14 transcriptions
are of musical compositions that were released between 1971 and 1994, prior to the
1999 release of TOE.

       101.   Drawing from the prior art works in Visual Exhibit A, in Musical Examples
10-17 earlier in this report, transcriptions of eight representative prior art works
released between 1926 and 1965, i.e., before the 1970 release of FLAME, are placed in
comparative transcriptions with the guitar Intro at issue FLAME. As shown in five of the
eight Musical Examples 10-17 above, after omitting the pitches that are shared between
each prior art work and FLAME, only a single pitch (on scale degree 4) and a musical
building block i chord remain. In the other three prior art works, only two non-
consecutive pitches (on scale degrees 4 and 1) and the musical building block i chord
remain.

FLAME Added No New Pitches to the MP Stock Device Other than a Single Pitch that Is
Not Even in TOE

       102.   In Musical Examples 30-37 below, each of the eight two-part comparative
transcriptions in Musical Examples 10-17 is expanded in eight corresponding Musical
Examples 30-37 by placing the guitar melody at issue in TOE on the bottom staff. Since
the prior art examples are each three bars long, I have excerpted the three bars of TOE
that share the most similarities with the FLAME guitar melody, i.e., bars 3-5 of the TOE
guitar loop. Scale degree numbers have been added above the notes in Arabic
numerals, and the Roman numeral “i” indicates a minor i chord. In the second of the
paired tripartite transcriptions in each of the following eight Musical Examples,
corresponding pitches (1) that are in the prior art work and/or (2) that are not shared by
FLAME and TOE are X’ed out. (As noted above, the metric placements and rhythmic

                                                                                           49
durations of the similar pitches in FLAME and TOE are different. Accordingly, the
criterion for melodic similarity in the placement of the red X’s is that the similar pitches
occur in the same chronological sequence in all three songs.) As shown in the eight
Musical Examples 30-37 below, after omitting the pitches (1) that are shared between
each prior art work and FLAME and/or (2) that are not shared by FLAME and TOE, at
most, only a single tonic pitch and a i chord – both common musical building blocks –
remain. However, because some of the prior art works that interpolate the MP stock
device also include both of those, i.e., portions of the building block i chord and the
additional tonic scale degree 1, in my opinion FLAME did not contribute those to the MP
stock device. In fact, FLAME added no new pitches that are not already in prior
examples of the use of MP stock device other than an additional “C” pitch (scale degree
4) which is wholly insignificant and which is not in TOE in any event.




                                                                                               50
        MUSICAL EXAMPLE 30

“Mysterious Mose” (1926) / FLAME / TOE




                                         51
             MUSICAL EXAMPLE 31

“The Skeleton In the Closet” (1936) / FLAME / TOE




                                                    52
      MUSICAL EXAMPLE 32

“Old Man Mose” (1939) / FLAME / TOE




                                      53
     MUSICAL EXAMPLE 33

“Peek-A-Boo” (1958) / FLAME / TOE




                                    54
        MUSICAL EXAMPLE 34

“Not of This Earth” (1959) / FLAME / TOE




                                           55
           MUSICAL EXAMPLE 35

“The Headless Horseman” (1963) / FLAME / TOE




                                               56
     MUSICAL EXAMPLE 36

“Strychnine” (1965) / FLAME / TOE




                                    57
     MUSICAL EXAMPLE 37

“Spider Walk” (1965) / FLAME / TOE




                                     58
        103.   In summary, when combined with my findings regarding structure,
harmony, rhythm, melody, and lyrics, I found that there are no significant structural,
harmonic, rhythmic, melodic, or lyrical similarities, individually or in the aggregate,
between FLAME and TOE and that the thin and fragmentary similarities are found in
prior art.

III. G. FLAME and TOE in Their Entirety

FLAME and TOE Are Significantly Different Musical Compositions in their Entireties

        104.   Overall, the similarities between FLAME and TOE are minimal and
substantially comprised of public domain material. FLAME is a blues-based soul song
with sung vocals. TOE is an R&B song heavily influenced by hip-hop. As discussed
above, FLAME has several different harmonic progressions occurring in different
sections of the song, while TOE has the same harmony throughout. The drum beat in
FLAME is relatively consistent, while the drum beat in TOE is highly dynamic with much
rhythmic variety and sudden drop-outs.

        105.   In the 5-second Intro in FLAME, the guitar plays alone and precedes the
entrance of the vocal part. By way of difference, the Intro of TOE includes guitar, sub-
bass, and spoken vocals. Moreover, as noted above and as shown in Visual Exhibit
A, 11 prior art works16 (released before 1970) include the MP melody as part of an
instrumental Intro that precedes the entrance of the vocal melody. Thus, the idea in
FLAME of using the stock device MP melody in an instrumental Intro preceding the
vocal melody was already common before 1970.

        106.   The 5-second Intro is a minimal part of FLAME and a stock device
interpolation of “Mysterioso Pizzicato” that is not part of the body of the FLAME song.
The body of FLAME starts with the vocal pickup at 0:05 after the Intro. A “cover”
version of FLAME that omits this brief Intro would still be a “cover” of the “whole song”.
The fact that the 5-second Intro is omitted from the FLAME sheet music deposit copy in


16
      See the transcriptions and narratives in #1,#2, #9, #11, #13, #14, #18, #19, #22,
#26, and #28 in Visual Exhibit A.
                                                                                           59
1969 supports this finding. Again, on the basis of my musicological analysis, I found
that in addition to being quantitatively insignificant, the 5-second Intro is qualitatively
insignificant to FLAME as a whole.

                    IV.     RESPONSE TO THE BENNETT REPORT

       107.   I was asked to review and respond to a report by Dr. Joe Bennett dated
September 8, 2019 (“the Bennett Report”).17 Paragraphs are not numbered in the
Bennett report.

       108.   The transcriptions proffered in the Bennett Report differ from mine at least
slightly in each case:

       (a) The Bennett Report’s transcription of the guitar riff in the 5-second Intro of
           FLAME (see Fig. 1 on page 3 of the Bennett Report) is basically identical to
           mine, except that the Bennett transcription starts one beat earlier. Footnote 2
           on page 3 of the Bennett Report states that the rhythmic placement is how
           Bennett “subjectively hear[s] Hines’s timing”. By way of difference, I hear the
           last “G” of the guitar melody (before the final tremolo chord) as a strong
           downbeat, hence my decision to start the melody one beat later on the
           second half of beat 2. Despite this difference, our transcriptions agree on the
           relative timing and note durations of the 5-second Intro.

       (b) The Bennett report’s transcription of the guitar in PAPER (see Fig. 3 on page
           5 of the Bennett Report) differs from mine in that it includes additional
           iterations of the low “G” note, for example, the last note in bar 1 and the first
           note in bar 2. These additional notes are part of the “Guitar 2” part, as
           transcribed in my Musical Example 7 at page 14 of this report. The Bennett
           Report does not explain why these notes are included in Fig.3 but the other
           notes in the Guitar 2 part are omitted. Given that the Guitar 2 part is



17
      My rebuttal focuses on the compositional comparisons presented in the Bennett
Report.
                                                                                               60
          separated in the stereo mix from the more prominent Guitar 1 part, I do not
          consider these additional notes to be part of the “main” guitar melody.

       (c) The Bennett Report’s transcription of the guitar in TOE (see Fig. 4 at page 6)
          contains a number of errors. The fourth, fifth, and sixth notes in bar 2 are
          mistakenly transcribed one half step higher than the recording (“C#”, “F#”,
          and “D” instead of the correct “C”, “F”, and “C#”). Furthermore, the last two
          notes in bar 2 of Fig. 4 simply do not exist in the recording.

       109.   Regardless of these transcription differences, the public domain source of
the compositional material in the 5-second Intro is admitted by Bennett. The Bennett
Report finds on page 4 that the 5-second Intro is a “musical allusion to the famous
Mysterioso Pizzicato” melody. While the Bennett Report agrees that the 5-second Intro
is derived from “Mysterioso Pizzicato”, the similarity is so extensive as to constitute an
“interpolation”, not merely an “allusion”.

       110.   The next sentence on page 4 of the Bennett Report asserts that “Ernie
Hines’s guitar part uses some different pitches and rhythmic values from MP, and
should therefore be considered an original melody composed by Hines.” This is not
accurate. Only one pitch in the 11-note FLAME melody – the third “C” note – is
different from MP. With respect to rhythm, the differences are (1) the ascending notes
occur at twice the rate as they do in MP, and (2) the sustained “E-flat” pitch starts a half
beat later and is a half beat shorter in duration. The last 5 consecutive notes are
identical to MP in both rhythm and pitch. Notably, Bennett fails to provide any
transcription of MP and wholly ignores all of the prior public domain works that use that
stock device just as the 5 Second Intro does.

       111.   Thus, despite the fact that the FLAME Intro melody uses all 10 pitches of
MP in the same chronological order, and that the last 5 of these pitches are also
identical in rhythm, the Bennett report argues that this melody (the 5-second Intro)
“should…be considered an original melody composed by Hines.” As analyzed above, it
is not; the only additional note that Hines added to the MP 10 note stock phrase to
come to 11 notes is a single C pitch, which does not even appear in PAPER or TOE.

                                                                                             61
       112.   Moreover, the Bennett Report’s contention is wholly at odds with the
Bennett Report’s other assertion that the guitar melodies in PAPER and TOE, which are
much more different from FLAME than any differences between FLAME and MP, should
not be considered original. The Bennett Report does not address all of those
differences. As shown above, the differences between the melodies in PAPER and
TOE and FLAME are far more extensive than any differences between FLAME and MP.

       113.   In short, the Bennett Report applies a double standard for what qualifies
as an “original melody”. When comparing the 5-second Intro in FLAME and MP, Bennett
gives tremendous weight to small differences, without even identifying them, concluding
that the melody in the 5-second Intro in FLAME is “original” and not copied. But when
comparing PAPER and TOE to FLAME, the many significant differences in pitch and
rhythm are downplayed or ignored, leading to the Bennett Report’s conclusion that the
melodies in PAPER and TOE are “compositionally copied” from FLAME.

       114.   At page 8 and in the summaries at pages 2 and 9, the Bennett Report
assigns numerical percentages to the amount of material in PAPER and TOE that is
allegedly derived from the 5-second Intro in FLAME. As explained at page 8 of the
Bennett Report, these percentages represent the total time during which guitar is
present over the total runtime of each song, which is calculated as 84% in PAPER and
100% in TOE. These percentages are uninformative at best and misleading at worst.
Not factored into the Bennett Report’s calculus is the presence of numerous other
compositional elements that are not at issue vis-à-vis FLAME, including vocal melodies,
chord progressions, drum/percussion rhythms, non-guitar instrumental parts, and lyrics.
As such, the 84% and 100% figures are largely meaningless and unhelpful to any
assessment of the nature or value of the expression at issue in PAPER or TOE. Again,
outside of playing a single pitch (on scale degree 6) off the beat, which is insignificant,
the only expression in common between PAPER and TOE and the compositional
elements in the 5-second Intro is public domain material that is not original to HINES.
Contrary to The Bennett Report’s contention, playing the 5-second Intro on an
instrument would not identify it with FLAME but rather with MP.



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                                   V.     CONCLUSIONS

       115.   On the basis of my analysis of the constituent elements in PAPER, TOE,
and FLAME individually, in the aggregate, and within the context of prior art, I found that
there are no significant structural, harmonic, rhythmic, melodic, or lyrical similarities
between PAPER and FLAME or between TOE and FLAME, and no musicological
evidence suggesting that any expression in PAPER or FLAME was copied from TOE.
Any similarities are thin and fragmentary and reconfigured to form new melodic
expression in PAPER and TOE as compared with FLAME. The 5-second Intro at issue
in FLAME appears only once briefly in the Intro of FLAME, has no connection to any
melodies found elsewhere in FLAME, and is a minimal part of FLAME. In addition to
being quantitatively insignificant, the 5-second Intro is qualitatively insignificant to
FLAME as a whole. Moreover, the melody at issue in FLAME is unoriginal and is based
on the “Mysterioso Pizzicato” cliché melody which is in the public domain and used in
many musical compositions in multiple genres (including in film music and popular
songs) that predate 1970. As such, the use of this melody in FLAME is merely an
instance of the use of a stock device.

       116.   The analysis presented in the Bennett Report fails to show that the
similarities between FLAME and PAPER and/or TOE represent copying of original
expression. The Bennett Report asserts that, while the melody at issue in FLAME is
derived from “Mysterioso Pizzicato”, it should be considered an “original composition”,
yet simultaneously argues that both PAPER and TOE are “compositionally copied” from
FLAME, even though the similarities between FLAME and MP are demonstrably greater
than any similarity between PAPER and FLAME or between TOE and FLAME.
Furthermore, the analysis of PAPER and TOE is based on a flawed transcription of
TOE.




                                                                                            63
      117.   On that basis, it is my professional opinion that any similarities between
PAPER and FLAME or between TOE and FLAME are commonplace and unremarkable,
and they do not suggest copying of original expression from FLAME.

Respectfully submitted,


September 29, 2022                              By: Lawrence Ferrara, Ph.D.




                                                ________________________
                                                For: Lawrence Ferrara, Inc.




                                                                                          64
                                       APPENDIX 1


                         LAWRENCE FERRARA, Ph.D.
                           PROFESSOR OF MUSIC
                            DIRECTOR EMERITUS
                 MUSIC AND PERFORMING ARTS PROFESSIONS
                          THE STEINHARDT SCHOOL
                           NEW YORK UNIVERSITY




Educational Background

B.A.         Music                            Montclair State University

M.M.         Music                            Manhattan School of Music

Ph.D.        Music                            New York University



Teaching Background

1979-84      Assistant Professor of
             Music                            New York University

1984-92      Associate Professor of
             Music, Tenured                   New York University

‘92-present (Full) Professor of Music         New York University

1995-2006    Professor of Music and
             Department Chair                 New York University

2006-2011    Professor of Music and
             Director, Music & Perf Arts      New York University

2011 (Sept.)- Professor of Music and
present       Director Emeritus               New York University




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Selected Professional Activities

Cambridge,
Mass:      2022, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law, via Zoom

Los Angeles: 2022, invited CLE lecture on music copyright for members of the Los
             Angeles Copyright Society via Zoom

Los Angeles: 2021, invited CLE lecture on music copyright for lawyers at Netflix via
             Zoom

Cambridge,
Mass:      2021, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law, via Zoom

New York:    2021, participation on a panel regarding curricular development in
             musicology, American Musicological Society GNY, via Zoom

New York:    2020, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright,
             delivered via Zoom

Cambridge,
Mass:      2020, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

New York:    2019, American Musicological Society GNY, peer-reviewed Keynote
             presentation regarding Music Copyright and Musicology, at New York
             University

Cambridge,
Mass:      2019, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

New York:    2019, Download Digital Tech Conference hosted by Davis Wright
             Tremaine, invited participation on a panel regarding music copyright

New York:    2018, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright
                                                                                       2
Cambridge,
Mass:      2018, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

New York:    2018, American Musicological Society GNY, invited participation on a
             panel hosted at Columbia University regarding Leadership and the Future
             of Musicology

New York:    2017, American Musicological Society GNY, peer-reviewed Keynote
             presentation regarding Philosophy and Musicology, at New York
             University (April)

New York:    2017, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright

Cambridge,
Mass:      2017, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

New York:    2017, American Musicological Society GNY, invited presentation and
             participation on a panel hosted at Columbia University regarding
             Leadership in Musicology (January)

Los Angeles,
California   2017, Southwestern Law School Annual Media Law Conference, invited
             panel member regarding music copyright

New York:    2016, Loeb & Loeb, Annual IP/Entertainment Law CLE Conference,
             invited panel member regarding music copyright

New York:    2016, The Copyright Society of America (NY), invited panel member
             regarding music copyright

New York:    2016, American Musicological Society GNY, peer-reviewed presentation
             regarding Corpus Analysis in musicology

Cambridge,
Mass:      2016, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law
                                                                                       3
New York:    2016, invited lecture on music copyright at Fordham University Law
             School, class on Advanced Copyright

Cambridge,
Mass:      2015, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

New York:    2015, American Musicological Society GNY, invited presentation and
             participation on a panel hosted by The Juilliard School at Lincoln Center
             regarding Changes in Music Delivery and Reception in the 21st Century

Cambridge,
Mass:      2014, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

New York:    2014, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright

New York:    2014, American Musicological Society GNY, peer-reviewed presentation
             on musicological issues regarding the composition embodied in a sampled
             portion of a sound recording in music copyright claims

New York:    2014, International Double Reed Society Conference, invited presentation
             on the musicological elements and implications in Newton v. Diamond

Cambridge,
Mass:      2013, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

New York:    2013, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright

New York:    2013, American Musicological Society GNY, peer-reviewed presentation
             including an analysis of the musical composition in “The Phantom Song”
             from Phantom of the Opera by Andrew Lloyd Webber related to Repp v
             Webber
New York:    2012, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright


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Cambridge,
Mass:      2012, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

Sweden:      2011, interviewed (in New York) and featured in the Swedish TV series,
             “The Story Behind the Hit Song,” regarding music copyright

Cambridge,
Mass:      2011, invited lecture on music copyright at Harvard University Law School,
           class on Music and Media Law

New York:    2010, invited presentation and moderator of a panel on sound recording
             sampling and music copyright for The Copyright Society of the United
             States, New York Chapter

New York:    2010, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright

Montclair,
NJ:          2010, invited to give the Inaugural Jack Sacher Memorial Research
             Lecture (on music analysis in music copyright matters) for the opening of
             the John Cali School of Music at Montclair State University

New York:    2010, invited lecture on music copyright followed by a dialogue with
             Academy Award winner, F. Murray Abraham, for The Pathfinders Series at
             The First Presbyterian Church of New York City

New York:    2008, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright

Ireland:     2007, interviewed on Irish radio regarding music copyright

New York:    2007, Invited opening and closing lectures for a Conference co-sponsored
             by The New York Philharmonic and the Finnish Consulate on Music
             regarding Music Learning and Performance in Finland

New York:    2006, invited panelist at the CMJ Conference at Lincoln Center regarding
             music copyright

New York:    2006, invited panelist at the Remix Conference regarding music copyright
                                                                                         5
New York:    2006, invited presentation for the New York Institute for the Humanities
             regarding music analysis and music copyright

New York:    2006, invited Keynote Address for The Mastery of Music Teaching
             Conference sponsored by The Metropolitan Opera Guild and The New
             York Philharmonic
Washington
     D.C.: 2005, invited panelist/presenter at the Future of Music Policy Summit
           regarding music copyright and Newton v Diamond

New York:    2005, invited panel and group discussion leader at the United Nations
             regarding rhythm in the music of multiple cultures as part of the U.N.’s
             World Summit on the “Information Society” and the United Nations
             Information and Communications Technology Task Force

Cambridge,
Mass.:     2005, invited panelist/presenter at Harvard University Law School’s
           Berkman Center in a national conference regarding technology and
           intellectual property

New York:    2005, invited music copyright presentation at Columbia University Law
             School, class on Federal Courts Litigation: Trademark and Copyright

Los
Angeles:     2005, invited lecture regarding music analysis and music copyright in Los
             Angeles for an NYU Alumni event

Orlando:     2005, invited lecture regarding music copyright and music analysis in
             Orlando, Florida for an NYU Alumni event

Hawaii:      2004, invited workshop presentation and session chair regarding
             methodology for the analysis of a J. S. Bach organ prelude for the
             International Conference on Arts and the Humanities

Norway:      2003, invited series of lectures on music theory and analysis co-
             sponsored by the Music Theory and Composition Departments of the
             Norwegian Music Academy, and the Department of Philosophy at the
             University of Oslo

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New York:     2001, invited presentation and Chair of a panel at The United Nations
              regarding “Music within a Global Context.”

Italy:        Summer 1993 & Summer 1994, Visiting Professor at University of Pisa
              teaching music analysis, performance practices, and philosophy of music


As a pianist, performed solo recitals and as an accompanist in the United States and
Europe including on radio and television, recordings released by Orion Master
Recordings and Musique international, and performed for musical theatre shows,
accompanist to internationally acclaimed singers, and as a session pianist in pop styles.

At New York University’s Steinhardt School: Director of Music Performance Programs
from 1980-1985, Director of Ph.D. Programs from 1986-1995, Chair of the Department
from 1995 – 2011, and Director of all Music and Performing Arts studies (undergraduate
through Ph.D.) in The Steinhardt School at New York University from 2006-2011.
Named “Director Emeritus” of Steinhardt Music and Performing Arts in 2011. Currently
on the full-time faculty in music theory and music history.

Currently a member of the Editorial Board of the journal Music and Moving Image
(University of Illinois Press) and on the board of Editorial Consultants for the journal
Philosophy of Music Education Review (Indiana University Press).



Awards

1972          Stoekel Fellowship, Yale University Graduate School of Music

1985          Presidential Research Fellowship, NYU

1988          Co-PI, Federal Grant for Research

1989          Co-PI, Federal Grant for Research renewed

1996          Daniel E. Griffiths Award for publication regarding the analysis of Arthur
              Schopenhauer’s works on music (Cambridge University Press, 1996).


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Membership in Professional Organizations

American Musicological Society

Society for Music Theory

Publications: Books

Ferrara, Lawrence          Philosophy and the Analysis of Music: Bridges to Musical
                           Sound, Form and Reference (Greenwood Press) 1991

Ferrara, Lawrence and
Kathryn E. Ferrara         Keyboard Harmony and Improvisation (Excelsior Music
                           Publishers) 1986

Phelps, Roger, Lawrence
Ferrara and Thomas
Goolsby                 A Guide to Research in Music Education, Fourth Edition.
                        (Scarecrow Press/The Rowman & Littlefield Publishing
                        Group) 1993
Phelps, Roger, Lawrence
Ferrara, et al          A Guide to Research in Music Education, Fifth Edition
                        (Scarecrow Press/The Rowman & Littlefield Publishing
                        Group) 2005


Courses Taught at NYU

Aesthetic Foundations of the Arts:      for Ph.D. students

Aesthetic Inquiry:                      for Ph.D. students

Arts Heritage and Criticism:            for M.M. students

Classic Era Music, Analysis:            for M.M. students

Contemporary Music, Analysis:           for M.M. and Ph.D. students

Dissertation Proposal Seminar:          for Ph.D. students

Keyboard Harmony and Improvisation: for B.M. students

Music Copyright, Landmark Cases:        for B.M. students
                                                                                      8
Music Criticism:                         for M.M. students

Music History III, 19th Century:         for B.M. students

Music History IV, 20th & 21st Century:   for B.M. students

Music Performance Practices:             for M.M. students

Music Reference & Research Methods: for M.M. and Ph.D. students

Music Theory and Analysis:               for B.M. students

Seminar in Music Theory & Analysis:      for M.M. and Ph.D. students


Music Copyright

A music expert in music copyright issues for more than twenty-five years providing
opinions for plaintiffs and defendants


An active music copyright consultant for record, music publishing, and motion picture
companies, and for individuals in the United States and abroad


A regularly invited guest lecturer in music copyright in classes at Columbia University
Law School and Harvard University Law School


A conference panelist sponsored by Harvard Law School in 2005, a panel moderator in
2010 and a panel member in 2016 for The Copyright Society of the United States (NY),
and a presenter for conferences and meetings regarding music copyright for CLE
credits at Loeb and Loeb (NY) in 2016, Southwestern Law School (LA) in 2017, Davis
Wright Tremaine (NY) in 2019, Netflix in 2021, and the Los Angeles Copyright Society
in 2022.


Peer-reviewed presentations regarding music copyright for the American Musicological
Society (GNY) in 2013, 2014, 2016, and 2019.


                                                                                          9
Deposition and/or Trial Testimony in the last ten years

   (1) Batts et al. v. Adams et al. in 2011
   (2) Francescatti v. Germanotta et al. in 2013
   (3) Marino v. Usher et al. in 2013
   (4) Roberts et al. v. Gordy et al. in 2014
   (5) Roberts et al. v. Gordy et al. in 2015
   (6) Fahmy v. Shawn Carter et al. in 2015
   (7) Copeland v. Bieber et al. in 2016
   (8) Skidmore v. Led Zeppelin et al. in 2016
   (9) Gray, et al. v. Perry, et al. in 2018
   (10) Gray, et al. v. Perry, et al. in 2019
   (11) Hall et al. v. Swift, et al. in 2021
   (12) Ambrosetti v. OCP & Farrell, et al. in 2022
   (13) Brunson v. Capitol CMG, Inc., et al. in 2022


Fee rates for Professional Services

$495 per hour plus travel-related time and expenses




                                                          10
 VISUAL
EXHIBIT A


            1
                        "Mysterioso Pizzicato" ("MP") Prior Art




1.     "Family Skeleton Blues", Kitty Brown (1923): The song begins with the
clarinet playing a variation of the "MP" melody, including flutter tonguing on scale
degree 6, as part of an instrumental Introduction preceding the vocal melody entrance.
https://youtu.be/JploMk5Gn-E




At 0:00




2.     "Mysterious Mose", Ted Weems and His Orchestra (1926): At 0:10, several
instruments play the full "MP" melody with a repeat and without a trill on scale degree 6
as part of an instrumental Introduction preceding the vocal melody entrance. The full
melody occurs again at 1:54 and is quoted again at 2:52.
https://youtu.be/4zGbQA4gveQ

At: 0:10




The “MP” melody is also quoted in the Chorus in double time (e.g., 0:48) as transcribed
immediately below.




                                                                                            2
3.     Carl Stalling, Disney Silly Symphonies "The Skeleton Dance" (1929): At 1:50
in the cartoon, several instruments play a varied and chopped version of the "MP"
melody.
https://youtu.be/vOGhAV-84iI




At 1:50




4.     Van Beuren Studios, "Making" ‘Em Move" (1931): At 0:48 in this cartoon, the
"MP" melody is played on several instruments but without the final four descending
notes. (There is no trill on scale degree 6, but the trumpet plays the note with flutter
tonguing.) At 4:43, the same shortened "MP" melody is played on a sax with flutter
tonguing on scale degree 6.
https://youtu.be/xplqueeOz0I




At 0:48




At 4:43




                                                                                           3
5.      "The Skeleton in the Closet", Louis Armstrong (1936): At 0:09, the bass
clarinet plays the full "MP" melody with a trill on scale degree 6.
https://youtu.be/JrSCjYhS-_U



At 0:09




6.      "Old Man Mose", Betty Hutton (1939): At 0:02, the full "MP" melody with a
repeat at 0:07 is split between tenor sax and trumpet but in different octaves as part of
an instrumental Introduction preceding the vocal melody entrance. The bass plays the
melody consistently within the same octave, as shown below. The melody returns at
1:31.
https://youtu.be/EbgXxjxFPfU




At 0:02




                                                                                            4
7.     Max Steiner, "Frogs" from The Adventures of Mark Twain, (1944): The film
score includes a variation of the "MP" melody played on pizzicato strings at 0:30 with an
ascending (not descending) melody at the end of the iteration. There is a less varied
"MP" melody also played on pizzicato strings at 1:10. Instruments other than the
pizzicato strings play a trill on scale degree 6.
https://youtu.be/yF2Rv_4xIZk (2004 recording by Moscow Symphony and Chorus)




At 0:30




At 1:10




8.     "Ghost of Old Man Mose", Harry Gold (1949): At 0:40, the trumpet plays the
full "MP" preceded by a pickup note, with a trill on scale degree 6, and with a partial
repeat. The "MP" melody returns at 1:19 and 1:58.
https://youtu.be/uie0RQW_4dU



At 0:40




                                                                                          5
9.    "The Ghost Song", Salty Holmes (1954): At 0:07, the organ plays the full "MP"
melody with two repeats as part of an instrumental Introduction preceding the vocal
melody entrance.
https://youtu.be/nByFPMVrUB0



At 0:07




10.   "At The House of Frankenstein", Big Bee Kornegay (1958): The song begins
with the saxophone playing the full "MP" melody with a trill on scale degree 6 and a
repeat as an instrumental Introduction (along with spoken words) preceding the vocal
melody. The "MP" melody returns at 0:40.
https://youtu.be/QwiOXrwouAs



At 0:01




                                                                                       6
11.    "Roland", Billy Duke and His Dukes (1958): At 0:06, the saxophone plays a
variation of the "MP" melody (with a repeat) in which there are additional scale degrees
5-4 following scale degree 6 as part of an instrumental Introduction preceding the vocal
melody. The varied "MP" melody returns in single iterations at 0:24, 0:54, 1:24, and in
several iterations at 2:24, ending with a triple hit on scale degree 1.
https://youtu.be/4AwRb7xIsZU



The altered descending scale "chops" and recombines the “MP” melody by inserting the
additional scale degrees 5-4 on beat 2 of bars 2 and 4.

At 0:06




12.    "The Prowler", The Idols (1958): At 0:03, the saxophone plays the full "MP"
melody with a trill on scale degree 6.
https://youtu.be/OTXrTtu1jy4



At 0:04




                                                                                           7
13.    "Peek-A-Boo", The Cadillacs (1958): The opening of the song features the
"MP" melody played on saxophone as an instrumental Introduction immediately
preceding the vocal melody.
https://youtu.be/bF_WRDaVhGw



At 0:00




An iteration at 0:57 replaces the final note of the "MP" melody (on the downbeat) with a
guitar playing a tremolo-like double-stopped, sixteenth-note riff on a i/I chord.

At 0:57




14.    "The Mummy's Bracelet", Deane Hawley and the Crystals (1959): At 0:02 (as
part of an instrumental Introduction preceding the vocal melody) and again at 0:32, the
baritone guitar (or “tic-tac bass”) plays the full "MP" melody without a trill. An upright
bass doubles the melody but with four eighth notes instead of a half note on scale
degree 6. The "MP" melody is reiterated after every Verse.
https://youtu.be/cqOF4G9O3VE

At 0:02




                                                                                             8
15.   "Frankenstein of '59", Buchanan and Goodman (1959): At 0:11, the full "MP"
melody is played on saxophone, with the final scale degree 1 played as two quarter
notes. https://youtu.be/GZCDDzhNUxo



This is an audio collage featuring samples of various contemporaneous hits, including
"Peek-A-Boo" by The Cadillacs (see #10 immediately above). The two quarter notes at
the end of the full "MP" melody are a sample from elsewhere in “Peek-A-Boo”, so this is
an example of literal melodic chopping, akin to Timbaland's process.

At 0:11




16.   "Dr Jekyll and Mr Hyde", The Emersons (1959): At 2:10, the full "MP" melody
is played on saxophone.
https://youtu.be/AVagTvc_llw



At 2:10




***The last note of the "MP" melody is accompanied by a I chord in the piano and the
vocals.




                                                                                        9
17.   Hans Conreid and Alice Pearce, "Monster Rally" (1959): At 1:29 the trombone
plays the "MP" melody, minus the last pitch, with a “slide vibrato” on scale degree 6.
Simultaneously, the bass (also at 1:29) plays the “MP” melody including the final pitch,
but with scale degree 6 placed one octave lower.
https://youtu.be/SE4puzQXOHc



At 1:29




At 1:29




18.   Hans Conreid and Alice Pearce, "Not Of This Earth" (1959): At the opening,
the piano plays the "MP" melody minus the final pitch with a tremolo chord under scale
degree 6 as part of an instrumental Introduction that precedes the vocal melody.
https://youtu.be/08ADTSHv_Jo



At 0:00




                                                                                         10
19.    Victor Herbert (1903 original composition); “We Won’t Be Happy ‘Till We
Get It” from the Disney film Babes in Toyland, (1961): This version of the Victor
Herbert song from the 1961 Disney film begins with the low brass playing a variation of
the "MP" melody as an instrumental Introduction preceding the vocal melody. The MP
variation repeats at 0:39.
https://youtu.be/VFP7OgB8-C0




At 0:01




20.    "The Bogey Man", The Moontrekkers (1963): The song begins with the
synthesizer playing the full "MP" melody four times consecutively. The full "MP" melody
returns in the Outro at 1:55.
https://youtu.be/tQdD81A8t4E



At 0:02




                                                                                      11
21.   "The Headless Horseman", Thurl Ravenscroft (1963): At 0:10, the accordion
plays the "MP" melody, but replaces the final note with a i chord voiced with scale
degree 3 on top. Simultaneously, the full "MP" melody is played on the bass.
https://youtu.be/04uPTBoZiUg




At 0:10




At 0:10




22.   "Count Macabre", The Connoissurs (1964*): The song begins with the
saxophone playing the full "MP" melody, including the repeat and no trill on scale
degree 6 as part of an instrumental Introduction preceding the vocal melody.
https://youtu.be/AI42Ubmn3z8



At 0:00




*According to Discogs, "Count Macabre" was released on the Music Productions (M-P)
label (in Baton Rouge) but was pressed by Houston Records as catalog number LH
1213. That catalog number places it in 1964.


                                                                                      12
23.     "Whodunit", Willard Chamberlain (1960s*): The song begins with the full "MP"
melody, including a vibrato on scale degree 6 and a repeat. At 0:19, the "MP" the
melody returns with a blues chord progression and largely continues throughout track.
In subsequent iterations (during the blues progression), the sax uses flutter tonguing on
scale degree 6. https://youtu.be/RvupxlMwC08




At 0:01




*According to a blog called The Musicians' Olympus
(http://musiciansolympus.blogspot.com/2014/07/johnnywinter-guitar.html), Willard
Chamberlain played saxophone in Johnny Winter's band, along with Johnny's brother
Edgar, from approximately 1959 to 1965. They were based in Beaumont, TX. Since "E.
Winter" (probably Edgar) is listed as a co-writer on the B-side of "Whodunit", it's likely
that Chamberlain made this record with members of Johnny Winter's band around that
time.




24.     "Strychnine", The Sonics (1965): The song begins with the full "MP" melody,
the first five notes played on an electric piano and the remaining notes played on guitar
in a faster tempo and continuing into guitar power chords, starting with i5 on the last
downbeat as part of an instrumental Introduction preceding the vocal melody.
https://youtu.be/f7Nffq0bOgE



At 0:02




                                                                                             13
25.     "Scrooge", The Venture's (1965): At 0:18, the guitar plays the full "MP" melody
with a repeat. The final note (scale degree 1) in the second iteration is played an octave
higher.

https://youtu.be/yAFfNiYy04U



At 0:18




***The rhythm guitar accompanies the ascending quarter notes with i chords.




26.     "Spider Walk", The Sabres (1965): The song begins with the guitar playing the
full "MP" melody, including the repeat and no trill on scale degree 6 as part of an
instrumental Introduction preceding the vocal melody. The repeated "MP" melody is
followed by a staccato i chord played on the guitar, which immediately continues into a
descending (flamenco) chord progression. This "MP" melody is reiterated at 0:46 and
2:12.
https://youtu.be/N4KnZ5OBN8g




At 0:01




                                                                                        14
27.   “The Coming Home Party”, Tiny Tim (1968): At 0:09, there is an iteration of
the "MP" melody with tremolos on the first five notes.
https://youtu.be/Q-NOU_-bXb8




At 0:09




28.   "One, Two, Three", from The Groovie Ghoulies television show (1970*): At
0:03, the full "MP" melody is played on several instruments as part of an instrumental
Introduction with spoken words and effects but before the entrance of the vocal melody.
https://youtu.be/UjykWj26yxA

At 0:03




*This was released on the Groovie Goolies album in 1970. It appears to be the same
recording that was used in the TV show. The following link is for the album version.
https://youtu.be/ib2QSxC8-A0




                                                                                         15
29.    "Goin' Downtown", The Five Keys (1951/1971*): The song begins with the
"MP" melody minus the first note, with a tremolo on scale degree 6, and a flatted scale
degree 2 in the descending scale. It ends with the four-note ascending arpeggio figure.
https://youtu.be/Euu1-ZMRYPI




At 0:00




*According to this source in the following link, this song was recorded for 78rpm format
in 1951 but not released in that format: https://www.45worlds.com/78rpm/record/3119.
The same recording was eventually released as a 45rpm single in 1971.




30.    "The Boogie Man", The Jackson 5 (1973): At the opening, the "MP" melody is
played on the guitar and bass without a trill on scale degree 6 but with the guitar playing
a tremolo on the last note.
https://youtu.be/R3SXCtjs0cc




At 0:00




                                                                                         16
31.   “Monster Reggae”, Frank 'N' Stein (1974): At 0:07, the "MP" melody is played
on bass and piano , followed by the piano playing i chords in an off-beat reggae pattern.
The guitar plays a "reggae-fied" version of the “MP” melody, including a brief chord after
the last note. The Verse bass line is a two-bar loop of the "MP" melody.
https://youtu.be/iDQ70CF4-xc




At 0:07




32.   "Teach Me How To Rock and Roll", The Creepies (1975): At 0:11, the full
"MP" melody is played on the guitar.
https://youtu.be/dpsNiW_Zc8A

At 0:11




                                                                                        17
33.   “Leaping Lesbians”, Meg Christian (1977): At the opening, the full "MP"
melody is played on the guitar with scale degrees 6 and 5 played respectively over VI
and V chords. The VI chord is played with a tremolo and the melody is repeated.
https://youtu.be/yupK3mBzG38




At 0:00




A varied "MP" melody, transposed up a perfect fifth to fit with the accompanying v
chord, is played on harpsichord at 1:00 and 2:00.

At 1:00




34.   “This Is Radio Clash”, The Clash (1981): At the opening, the bass plays the full
"MP" melody but with a longer scale degree 6 followed by a syncopated scale degree 5,
and the guitar simultaneously plays the first four notes followed by sustained VI chord.
https://youtu.be/krl-2hgFrJU




At 0:00




                                                                                           18
35.       “Goblin Girl”, Frank Zappa (1981): At 0:17, the organ (with a vibrato effect)
plays the full “MP” melody with chords under each note.
https://youtu.be/2NwPJo4ysXI




At 0:17




36.       Frank Zappa, "Zomby Woof", Live performance (1982): this live performance
incorporates the full "MP" melody at 4:34 with a repeat.
https://youtu.be/m-HXtmQM4E0



At 4:34




                                                                                          19
37.   “Ghost Manor Main Titles”, Xonox (game company) (1983): The variation of
the “MP” melody used as the theme song of this Atari video game has a major third in
the ascending melody, possibly because of technical limitations.
https://youtu.be/tVOJWNLKkeI




At 0:01




38.   “Boss Theme” from Wizards and Warriors, David Wise (1987): The “MP”
melody used in the score of this Nintendo video game has a “shake” between scale
degrees 5 and 6. The effect is the same as a trill on scale degree 6, but to the note
below instead of the note above.
https://youtu.be/t-Gzl4FIPjo




At 0:00




                                                                                        20
39.   “Comedy, Accent - Halloween Music, Percussion”, Sound Ideas (1992): The
full “MP” melody appears on this sound effects CD.
https://youtu.be/19628hq9DGw




At 0:00




40.   “Devil House”, Shonen Knife (1992): At 0:14, the guitar plays the full “MP”
melody with a partial repeat.
https://youtu.be/7_AR-VqQif8

At 0:14




                                                                                    21
41.   “Jack the Ripper”, The Fuzztones (1992): A quote of the “MP” melody (with
repeat) is played on guitar at 0:32 and segues into the theme from Dragnet.
https://youtu.be/QdAHbDNOypo

At 0:32




42.   “Give Us a Mystery”, Mary-Kate & Ashley Olsen (1994): The song begins with
several instruments playing the full “MP” melody. The trumpet uses flutter tonguing on
scale degree 6.
https://youtu.be/lhhyu6TEPbY

At 0:00




                                                                                     22
 VISUAL
EXHIBIT B
